Case 1:09-cv-00815-JMS-DML            Document 261       Filed 08/12/14     Page 1 of 2 PageID #:
                                             1964



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 MASTON WILLIS,                                   )
      Plaintiff and Class Representative,         )
                                                  )
        vs.                                       )     1:09-cv-815-JMS-DML
                                                  )
 COMMISSIONER INDIANA DEPARTMENT OF               )
 CORRECTION, et al.,                              )
      Defendants.                                 )

                                              ORDER

        On December 8, 2010, this Court entered an injunction requiring the Commissioner of

 the Indiana Department of Correction (the “DOC”) to adopt a kosher meal policy that complied

 with the Religious Land Use and Institutionalized Persons Act (“RLUIPA”), 42 U.S.C. §

 2000cc-1(a). [Filing No. 114.] The DOC has adopted such a policy, but presently pending be-

 fore the Court is a motion to intervene and to seek contempt remedies filed by DOC inmate Jo-

 seph Williams-Bey. [Filing No. 260.] The motion, filed pro se, requests that the Court allow

 Mr. Williams-Bey to intervene as a class representative and seek a finding from the Court that

 the DOC is in contempt for failing to provide him with kosher meals. [Filing No. 260.]

        Based on the Court’s review of the motions to intervene and for contempt, the Court

 ORDERS as follows:

              This matter remains a class action with an adequate class representative and
              competent class counsel, through whom Mr. Williams-Bey must seek relief
              before any petition to intervene will be addressed on the merits. Through the
              motion, Mr. Williams-Bey has not demonstrated that his interests are not be-
              ing adequately represented either by the existing named plaintiff or by class
              counsel, or that class counsel has consented to the filing of the motion; and

              Accordingly, the motion to intervene and to seek contempt remedies that is
              currently pending, [Filing No. 260], is DENIED WITHOUT PREJUDICE.




                                                -1-
Case 1:09-cv-00815-JMS-DML           Document 261     Filed 08/12/14   Page 2 of 2 PageID #:
                                            1965




                                             _______________________________
 08/12/2014
                                                Hon. Jane Magnus-Stinson, Judge
                                                United States District Court
                                                Southern District of Indiana




 Distribution via ECF only to all counsel of record


 Distribution via United States Mail:

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